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United States Courts

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PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 04/2021) . . outer ED Texas
IN THE UNITED STATES DISTRICT COURT JAN 26 2024
FOR THE £ \ DISTRICT OF TEXAS
WOOSTO DIVISION ©

Nathan Ochsner, Clerk of Court

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Plaintiff's Name and ID Number

Haekcs County Dhl.

. Place of Confinement

CASE NO.
~ (Clerk will assign the number)

ve HARRS COUNTY SHERIFF
€d Gonzalez .
Defendant’s Name and Address Fh, iE id WV, KAAE

MELLES AM OKKES

Defendant’s Name and Address

‘Defendant’s Name and Address

(DO NOT USE “ET AL.”)

INSTRUCTIONS - READ CAREFULLY
‘NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BEANK:PAGE AND WRITE ON IT-.
3. You must file a separate complaint for each claim you have unless the various claims are all related to the same ~
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

FILING FEE AND IN FORMA PAUPERIS (IFP)

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1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $52.00 for a total fee of $402.00. :

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed |
in forma pauperis. \n this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. ‘If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at your prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “...if a prisoner brings a civil action or files an’
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.

§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $52.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court. .

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change-of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief, Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

], PREVIOUS LAWSUITS: , | ‘)
- (Nox, THE, SAC ETSON MONT
- A. Have you filed any other lawsuit in state or federal court relating to your imprisonment?_YES NO
B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one

lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)
1. Approximate date of filing lawsuit:

2. Parties to previous lawsuit:
Plaintiff(s)
Defendant(s)

. Court: (If federal, name the district; if state, name the county.)

. Name of judge to whom case was assigned:

3
4, Cause number:
5
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. Disposition: (Was the case dismissed, appealed, still pending?)

7. Approximate date of disposition:
Il. PLACE OF PRESENT CONFINEMENT:

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/ .
Ill. © EXHAUSTION OF GRIEVANCE PROCEDURES: cell i SOMUSIN Wold BC
Have you exhausted all steps of the institutional grievance I YES NO - POLNILESS

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

a COMT HAVE COPY
1V. PARTIES TO THIS SUIT:

A. Name and.address of plaintiff: , ‘onc os BAGS L.
(200 EHLEK, LLOUIM LX 7 700 Z

B. Ful name of each defendant, his official position, his ED of
employment, and his full mailing address. D CWE

yt Defendant#t: Fale ty ate V dbeleh jade Aled?
yi ZO May Lith - to Ae HEE LL hal.
uo Briefly describe the act(s) or ovnission(s) of this 5 defendant which you claimed harmed you.

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Heal rt LAL GE Yo

Briefly describe the act(s) or - omission(s) of this defendant which you claimed harmed you.

Defendant #3: HAGES Cl OMT, y DAL

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

KELUSERS, TO. SWE TL EE Hae. BaD Y CKAKS

Defendant #4:

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you. _

Defendant #5:

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Vv. STATEMENT OF CLAIM:

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VIL.

VI.

- when did it happen, and who was involved. Describe how each defendant is involved. You need not give any

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State here ina short and plain statement the facts of your case, that is, what happened, where did it happen,

legal arguments or cite any cases or statutes.” If you intend to allege a number of related claims, number and
set forth each claim in a separate paragraph. Attach extra pages ifnecessary, but remember the complaint must
be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR
COMPLAINT.

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RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.

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oon ce Meath kikriok” MiG a Is f f ke G10 00. 000: 11 Monel Y

A. State, in com lete form, all names_you have ever used or been known by including any and all aliases.

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B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal prison

or FBI numbers ever assigned to you. (7
Ss

SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? ___.YES Ano

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

Court that imposed sanctions (if federal, give the district and division):

Case number:

Approximate date sanctions were imposed:
Have the sanctions been lifted or otherwise satisfied? YES NO

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C. Has any court ever warned or notified you that sanctions could be imposed? YES y NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning v was issued.
(If more than one, use another piece of paper and answer the same questions.)

—

. Court that issued warning (if federal, give the district and division):

Ww

. Case number:

hed

. Approximate date warning was issued:

Executed on:

“DATE

(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS |

]. [declare under penalty of Perjury all facts presented in this complaint and attachments thereto are true and.
correct.

2. Tunderstand, if] am released or transferred, it is my responsibility to keep the court informed of my current

mailing address and failure to do so may result in the dismissal of this lawsuit.

| understand I must exhaust all available administrative remedies prior to filing this lawsuit.

4, | understand I am prohibited from bringing an in forma pauperis \awsuit if I have brought three or more
civil actions or appeals (frorn a judgment in a civil action) in a court of the United States while incarcerated
or detained in any facility, which lawsuits were dismissed on the ground they were frivolous, malicious,
or failed to state a claim upon which relief may be granted, unless [ am under imminent danger of serious
physical injury.

5. lunderstand even if I am allowed to proceed without prepayment of costs, | am responsible for the entire
filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

Signed this QL day of Dwar, , 20 ZL]

(Day) (month) © (year)

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‘Signature of Plaintiff)

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but are
not limited to, monetary sanctions and the dismissal of this action with prejudice.

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